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Case 3:16-cr-00591-GAG Document 1731 Filed 08/10/20 Page 1 of 14

USS. v. [24] Angel Reyes-Colon, 16-591 (GAG)

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA, CRIMINAL NO. 16-591 (GAG)
Plaintiff,

V.

[24] ANGEL REYES-COLON,
Defendant.

 

PLEA AGREEMENT
TO THE HONORABLE COURT:

The United States of America, Defendant, Angel Reyes-Colon, and
Defendant's counsel, Emesto Hernandez-Milan, Esq., pursuant to Federal Rule of
Criminal Procedure 11, state that they have reached a Plea Agreement, the terms and
conditions of which are as follows:

1. Charges to which Defendant will Plead Guilty

Defendant agrees to plead guilty to Count One of the Indictment:

Count One: Conspiracy to Possess with Intent to Distribute Controlled

Substances

Beginning on a date unknown, but no later than in or about the year 2012, and
continuing up to and until the return of the instant Indictment, in the Municipality of
San Juan, District of Puerto Rico and within the jurisdiction of this Court, defendant,
[24] Angel Reyes-Colon and other persons, did knowingly and intentionally, combine,
conspire, and agree with each other and with diverse other persons known and

unknown to the Grand Jury, to commit an offense against the United States, that is,

USAO-DPR-Plea Agreement Page | ]

 

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Case 3:16-cr-00591-GAG Document 1731 Filed 08/10/20 Page 2 of 14

US. v. (24) Angel Reyes-Colon, 16-591 (GAG)

to knowingly and intentionally possess with intent to distribute controlled substances,
to wit: in excess of two hundred and eighty (280) grams of a mixture or substance
containing a detectable amount of cocaine base (crack), a Schedule II Narcotic Drug
Controlled Substance; in excess of one (1) kilogram of a mixture or substance
containing a detectable amount of heroin, a Schedule I, Narcotic Drug Controlled
Substance; in excess of five (5) kilograms of a mixture or substance containing a
detectable amount of cocaine, a Schedule II, Narcotic Drug Controlled Substance; a
mixture or substance containing a detectable amount of marijuana, a Schedule I,
Controlled Substance; a mixture or substance containing a detectable amount of
Oxycodone (commonly known as Percocet), a Schedule II Controlled Substance; and
a mixture or substance containing a detectable amount of Alprazolam (commonly
known as Xanax), a Schedule IV Controlled Substance; within one thousand (1,000)
feet of a real property comprising the Vista Hermosa Public Housing Project
(hereinafter “Vista Hermosa”), a housing facility owned by a public housing authority,
within one thousand (1,000) feet of a real property comprising a public or private
elementary, vocational, or secondary school, and within one thousand (1,000) feet of
a playground, all within the Municipality of San Juan, Puerto Rico. All in violation of
Title 21, United States Code, Sections 841(a)(1), 846, and 860.
2. Maximum Penalties
Count One: The maximum statutory penalty for the offense charged in Count
One of the Indictment, is a term of imprisonment not be less than ten (10) years and

up to two (2) terms of life, a fine not to exceed twenty million dollars ($20,000,000.00),

USAO-DPR-Plea Agreement Page | 2
 

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Case 3:16-cr-00591-GAG Document 1731 Filed 08/10/20 Page 3 of 14

USS. v. [24] Angel Reyes-Colon, 16-591 (GAG)

and a term of supervised release of not less than ten (10) years in addition to any term
of incarceration, pursuant to Title 21, United States Code, Sections 841(a){1) & (b)(1)(A),
846, and 860.

However, for purposes of this plea agreement, the defendant is being held
responsible for the possession of at least 3.5 kilograms but less than 5 kilograms of
cocaine. Therefore, if the Court accepts this stipulation, the defendant faces a
minimum term of imprisonment of five (5) years up to a maximum term of
imprisonment of eighty (80) years, a fine not to exceed ten million dollars
($10,000,000.00), and a term of supervised release of not less than eight (8) years in
addition to any term of incarceration, pursuant to Title 21, United States Code, Sections
841(a)(1) & (b)(1)(B) (ii), 846, and 860.

3. Sentencing Guidelines Applicability

Defendant understands that the sentence will be imposed by the Court in
accordance with 18 U.S.C. § § 3551-86,‘and the United States Sentencing Guidelines
(hereinafter “Guidelines”), which are advisory pursuant to the United States Supreme
Court decision in United States v. Booker, 543 U.S. 220 (2005). Further, Defendant
acknowledges that parole has been abolished, and that the imposition of Defendant’s
sentence may not be suspended.

4. Special Monetary Assessment

Defendant agrees to pay a special monetary assessment (“SMA”) of one

hundred dollars ($100.00) per count of conviction. The SMA will be deposited in the

Crime Victim Fund, pursuant to 18 U.S.C. § 3013 (a)(2)(A).

USAO-DPR-Plea Agreement Page |3
 

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Case 3:16-cr-00591-GAG Document 1731 Filed 08/10/20 Page 4 of 14

US. v. (24] Angel Reyes-Colon, 16-591 (GAG)

5. Fines and Restitution
The Court may, pursuant to Section 5E1.2 of the Guidelines order Defendant
to pay a fine. The Court may also impose restitution. Defendant agrees to execute and
make available, prior to sentencing, a standardized financial statement (OBD Form
500). The United States will advocate on behalf of any identified victim, and comply
with its obligations under the Mandatory Victim Restitution Act of 1996.
6. Sentence to be Determined by the Court
Defendant understands that the sentence to be imposed will be determined
solely by the United States District Judge. The United States cannot make and has not
made any promise or representation as to what sentence Defendant will receive. Any
discussions that the parties might have had about possible sentences are not binding in
any way on the Court, and do not constitute representations about what the parties
will seek, or what the actual sentence will be.
7. Recommended Sentencing Guidelines Calculations
After due consideration of the relevant factors enumerated in 18 U.S.C. §
3553(a), the United States and Defendant submit that the advisory Guidelines
calculations listed below apply to Defendant. However, Defendant acknowledges that

the Court is not required to accept those recommended Guidelines calculations.

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USAO-DPR-Plea Agreement Page | 4

 

 
 

Case 3:16-cr-00591-GAG Document 1731 Filed 08/10/20 Page 5 of 14

US. v. [24] Angel Reyes-Colon, 16-591 (GAG)

 

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COUNT ONE

21 U.S.C. §§ 841(a)(1) & (b)(1)(B)(ii), 846, and 860.

4 SENTENCING GUIDELINES CALCULATIONS... :.’ Oe

 

Base Offense Level pursuant to U.S.S.G. § 2D1.1(c)(6)

(Possession of at least 3.5 kilograms but less than 5 kilograms

 

 

 

 

 

 

 

 

 

 

 

of cocaine) 28
Protected Location [U.S.S.G. §2D1.2(a)(1)]
(Distribution within 1,000 of PHP/School Zone) +2
Acceptance of Responsibility pursuant to U.S.S.G. §3E1.1 3
TOTAL ADJUSTED OFFENSE LEVEL 7
CH Cat. 1 | CH Cat. 1 | CH Cat. | CHCat.Iv | CHCat.V | CH Cat. VI
70-87 78-97 87-108 100-125 120-150 130-162

 

 

 

8. Sentence Recommendation

As to Count One, and after due consideration of the relevant factors enumerated

in 18 U.S.C. § 3553(a), the parties agree that the parties will jointly request a sentence

of imprisonment of eight-four (84) months, regardless of criminal history.

The parties agree that any recommendation by either party for a term of

imprisonment below or above the stipulated sentence recommendation will constitute

a material breach of the Plea Agreement.

9. No Stipulation as to Criminal History Category

The parties do not stipulate as to any Criminal History Category for Defendant.

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USAO-DPR-Plea Agreement

Page| 5

 
 

Case 3:16-cr-00591-GAG Document 1731 Filed 08/10/20 Page 6 of 14

US. v. [24] Angel Reyes-Colon, 16-591 (GAG)

10. Waiver of Appeal
Defendant knowingly and voluntarily agrees that, if the imprisonment sentence
imposed by the Court is eighty-four (84) months or less, Defendant waives the right to
appeal any aspect of this case’s judgment and sentence, including, but not limited to
the term of imprisonment or probation, restitution, fines, forfeiture, and the term and
conditions of supervised release.
11.No Further Adjustments or Departures
The United States and Defendant agree that no further adjustments or
departures to Defendant's total adjusted base offense level and no variant sentence
under 18 U.S.C. §3553—other than any explicitly provided for in this Plea
Agreement—shall be sought by Defendant. The parties agree that any request by
Defendant for an adjustment or departure that is not explicitly provided for in this Plea
Agreement will be considered a material breach of this Plea Agreement, and the
United States will be free to ask for any sentence, either guideline or statutory.
12. Satisfaction with Counsel
Defendant is satisfied with counsel, Ernesto Hernandez-Milan, Esq., and asserts
that counsel has rendered effective ‘eval ansieane:
13.Rights Surrendered by Defendant Through Guilty Plea
Defendant understands that by entering into this Plea Agreement, Defendant
surrenders and waives certain rights as detailed in this agreement. Defendant

understands that the rights of criminal defendants include the following:

USAO-DPR-Plea Agreement Pago | 6

 
 

Case 3:16-cr-00591-GAG Document 1731 Filed 08/10/20 Page 7 of 14

USAO-DPR-Plea Agreement

U.S. v. (24) Angel Reyes-Colon, 16-591 (GAG)

a. If Defendant had persisted in a plea of not guilty to the charges,

Defendant would have had the right to a speedy jury trial with the
assistance of counsel. The trial may be conducted by a judge sitting
without a jury if Defendant, the United States and the judge agree.

. If a jury trial is conducted, the jury would be composed of twelve lay

persons selected at random. Defendant and Defendant's attorney would
assist in selecting the jurors by removing prospective jurors for cause
where actual bias or other disqualification is shown, or by removing
prospective jurors without cause by exercising peremptory challenges.
The jury would have to agree, unanimously, before it could return a
verdict of either guilty or not guilty. The jury would be instructed that
Defendant is presumed innocent, that it could not convict Defendant
unless, after hearing all the evidence, it was persuaded of Defendant’s
guilt beyond a reasonable doubt, and that it was to consider each charge
separately.

. Ifa trial is held by the judge without a jury, the judge would find the facts

and, after hearing all the evidence and considering each count separately,
determine whether or not the evidence established Defendant’s guilt
beyond a reasonable doubt.

. At a trial, the United States would be required to present its witnesses

and other evidence against Defendant. Defendant would be able to
confront those witnesses and Defendant’s attorney would be able to
cross-examine them. In turn, Defendant could present witnesses and
other evidence on Defendant’s own behalf. If the witnesses for Defendant
would not appear voluntarily, Defendant could require their attendance

through the subpoena power of the Court.

. Ata trial, Defendant could rely on the privilege against self-incrimination

to decline to testify, and no inference of guilt could be drawn from
Defendant's refusal to testify. If Defendant desired to do so, Defendant
could testify on Defendant’s own behalf.

14.Stipulation of Facts
The accompanying Stipulation of Facts signed by Defendant is hereby

incorporated into this Plea Agreement. Defendant adopts the Stipulation of Facts and

agrees that the facts therein are accurate in every respect. Defendant agrees and accepts

Page |7

 

 
 

Case 3:16-cr-00591-GAG Document 1731 Filed 08/10/20 Page 8 of 14

US. v. [24] Angel Reyes-Coton, 16-591 (GAG)

that had the matter proceeded to trial, the United States would have proven those facts
beyond a reasonable doubt.
15.Limitations of Plea Agreement
This Plea Agreement binds only the United States Attorney’s Office for the
District of Puerto Rico and Defendant. It does not bind any other federal district, state,
or local authorities.
16.Entirety of Plea Agreement
This written agreement constitutes the complete Plea Agreement between the
United States, Defendant, and Defendant’s counsel. The United States has made no
promises or representations except as set forth in writing in this Plea Agreement and
denies the existence of any other terms and conditions not stated herein.
17. Amendments to Plea Agreement
No other promises, terms or conditions will be entered into between the parties
unless they are in writing and signed by all parties.
18. Dismissal of Remaining Counts
At sentencing should there be any pending counts and should the Defendant
comply with the terms of this Plea Agreement, the United States will move to dismiss
the remaining counts of the Indictment pending against Defendant in this case.
19. Voluntariness of Plea Agreement
Defendant acknowledges that no threats have been made against Defendant and
that Defendant is pleading guilty freely and voluntarily because Defendant is guilty.

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USAO-DPR-Plea Agreement Page | 8

 
 

Case 3:16-cr-00591-GAG Document 1731 Filed 08/10/20 Page 9 of 14

USS. v. [24] Angel Reyes-Colon, 16-591 (GAG)

20.Breach and Waiver
Defendant agrees that defendant will have breached this Plea Agreement if,
after entering into this Plea Agreement, Defendant: (a) fails to perform or to fulfill
completely each and every one of Defendant’s obligations under this Plea Agreement;
(b) engages in any criminal activity prior to sentencing; or (c) attempts to withdraw
Defendant’s guilty plea. In the event of such a breach, the United States will be free
from its obligation under this Plea Agreement and Defendant will not have the right

to withdraw the guilty plea. Moreover, Defendant agrees that if Defendant is in breach

of the Plea Agreement, Defendant is deemed to have waived any objection to the. ,

reinstatement of any charges under the Indictment, Information, or complaint which

may have previously been dismissed or which may have not been previously

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prosecuted.
21.Potential Impact on Immigration Status
Pursuant to Federal Rule of Criminal Procedure 11(b)(1)(O), Defendant hereby
agrees and recognizes that if convicted, a Defendant who is not a United States citizen
may be removed from the United States, denied citizenship, and denied admission to

the United States in the future.
22.Felony Conviction

Defendant hereby agrees and recognizes that the plea of guilty in this case will

be recognized as a felony conviction, which will result in ‘the loss of certain rights,

including but not limited to the right to vote in a federal election, to serve as a juror,

USAO-DPR-Plea Agreement Page |9

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Case 3:16-cr-00591-GAG Document 1731 Filed 08/10/20 Page 10 of 14

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US. v. [24] Angel Reyes-Colon, 16-59] (GAG)

to hold public office, and to lawfully possess a firearm.

W. STEPHEN MULDROW

 

United States Attorney
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al A. /
Max Pééz-Bouret Ernesto Hernande4-Milan, Esq.
Assistant U.S. Attorney, Chief Counsel for Defendant
Transnational Organized Crime Section Dated:

Dated: 22/202¢

TxD hb

Vanessa E. Bonhomme Angel Reyes-Colon

Assistant U.S. Attorney Defendant
Dated:_+| 22 Dated: 9/7/20

USAO-DPR-Plea Agreement 5 Page | 10
Case 3:16-cr-00591-GAG Document 1731 Filed 08/10/20 Page 11 of 14

US. v. [24] Angel Reyes-Coloa, 16-591 (GAG)

UNDERSTANDING OF RIGHTS
I have consulted with counsel and fully understand all of my rights as to the

charges pending against me. Further, I have consulted with my attorney and fully
understand my rights as to the provisions of the Guidelines that may apply in my case.
I have read this Plea Agreement and carefully reviewed every part of it with my
attorney. My counsel has translated the Plea Agreement to me in the Spanish language

and I have no doubts as to the contents of the agreement. I fully understand this

agreement and voluntarily agree to it. Le
Date: Bf foo f =

Angel Reyes-Cofon
Defendant

I am the attorney for Defendant. I have fully explained Defendant’s rights to
Defendant with respect to the pending charges. Further, I have reviewed the applicable
provisions of the Guidelines and I have fully explained to Defendant the provisions of
those Guidelines that may apply in this case. I have carefully reviewed every part of
this Plea Agreement with Defendant. I have translated the Plea Agreement and
explained it in the Spanish language to the Defendant who has expressed having no
doubts as to the contents of the agreement. To my knowledge, Defendant is entering

into this Plea Agreement voluntarily, intelligently, and with full knowledge of all

consequences of Defendant’s plea of guilty.
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Emesto Hernandez-Milan

Counsel for Defendant

USAO-DPR-Plea Agreement Page | 11

 
 

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Case 3:16-cr-00591-GAG Document 1731 Filed 08/10/20 Page 12 of 14

U.S. v. [24] Ange! Reyes-Coton, 16-591 (GAG)

STIPULATION OF FACTS

In conjunction with the submission of the accompanying Plea Agreement in
this case, the Defendant Angel Reyes-Colon admits that Defendant is guilty as charged
in the Indictment and admits the following:

Beginning on a date anknawt, but no ister than in or about the year 2012, and
continuing up to and until the return of the instant Indictment, in the Municipality of
San Juan, District of Puerto Rico sei within the jurisdiction of this Court, [24] Angel
Reyes-Colon and his co-defendants did knowingly and intentionally, combine,
conspire, and agree with each other and with diverse other persons known and
unknown to the Grand Jury, to commit an offense against the United States, that is,
to knowingly and intentionally possess with intent to distribute controlled substances,
to wit: in excess of two hundred cai eighty (280) grams of a mixture or substance
containing a detectable amount of cocaine base (crack), a Schedule II Narcotic Drug
Controlled Substance; in excess of one (1) kilogram of a mixture or substance
containing a detectable amount of heroin, a Schedule I, Narcotic Drug Controlled
Substance; in excess of five (5) kilograms of a mixture or substance containing a
detectable amount of cocaine, a Schedule II, Narcotic Drug Controlled Substance; a
mixture or substance containing a detectable amount of marijuana, a Schedule I,
Controlled Substance; a mixture or substance containing a detectable amount of
Oxycodone (commonly known as Percocet), a Schedule II Controlled Substance; and
a mixture or substance containing a detectable amount of Alprazolam (commonly

known as Xanax), a Schedule IV Controlled Substance; within one thousand (1,000)

USAO-DPR-Plea Agreement , Page | 12

 

 
 

Case 3:16-cr-00591-GAG Document 1731 Filed 08/10/20 Page 13 of 14

US. v. [24] Angel Reyes-Colon, 16-591 (GAG)

feet of a real property comprising the Vista Hermosa Public Housing Project
(hereinafter “Vista Hermosa”), a housing facility owned by a public housing authority,
within one thousand (1,000) feet of a real property comprising a public or private
elementary, vocational, or secondary school, and within one thousand (1,000) feet of
a playground, all within the Municipality of San Juan, Puerto Rico. All in violation of
Title 21, United States Code, Sections 841(a)(1), 846, and 860.

Specifically, [24] Angel Reyes-Colon acted as runner and seller for the drug
trafficking organization operating out the Vista Hermosa Public Housing Project.
Several kilograms of cocaine, cocaine base (crack), heroin, a detectable amount of
marijuana, and Oxycodone and Alprazolam were sold during the course of the
conspiracy, however for purposes of his plea agreement, the defendant is held
responsible for the possession with intént'to distribute and the distribution of at least
3.5 kilograms but less than 5 kilograms of cocaine. This all occurred within 1,000 feet
of a housing facility owned by a public housing authority, within 1,000 feet of a
property comprising a public or private elementary, vocational, or secondary school,
and within 1,000 feet of a playground.

Had this matter proceeded to trial, the United States would have presented
evidence through the testimony of witnesses as well as physical evidence and
documentary evidence, which would have proven beyond a reasonable doubt

Defendant’s guilt.

USAO-DPR-Plea Agreement Page | 13

 

 
 

Case 3:16-cr-00591-GAG Document 1731 Filed 08/10/20 Page 14 of 14

U.S. v. [24] Angel Reyes-Colon, 16-591 (GAG)

At trial, the United States would have proven beyond a reasonable doubt that
defendant Angel Reyes-Colon is guilty as charged in Count One of the Indictment.

Discovery was timely made available to Defendant for review.

Tey ~ D> ! . /
Vanessa E. Bonhomme = Ernesto pulex Esq.
Assistant U.S. Attorney Counsel for Defendant

Dated: _ 4 Ine bw Wy

Angel Reyes-Colon

Defendant .
Dated: “afr [oe

 

USAO-DPR-Plea Agreement Page| 14
